Case 2:22-cv-00616-DBB-DBP Document 61 Filed 12/03/24 PageID.580 Page 1 of 4




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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

 DAVID ZAMORA, et al.,
                                                   PLAINTIFFS’ AMENDED MOTION TO
        Plaintiffs,                                            COMPEL

 vs.                                                   Case No: 2:22-cv-00616-DBB-DBP
                                                             Judge: David Barlow
 DOUGLAS QUEZADA, et al.,                               Magistrate Judge Dustin B. Pead

        Defendants.

       Pursuant to Fed. R. Civ. P. 37 and DUCivR 37-1, Plaintiffs respectfully submit this motion

to compel Defendants to fully respond to Plaintiffs’ First Set of Discovery Requests to Lauren

Quezada and HQC, LLC, and for Defendants Lauren Quezada and HQC to appear for depositions,

and in support state as follows:

       1.      This lawsuit arises out of Defendants defrauding Plaintiffs out of nearly $150,000.

Defendant Douglas Quezada induced Plaintiffs to periodically send him large sums of money

between November 2017 and January 2021 upon the false premise that he would invest the funds

on Plaintiffs’ behalf. The money was deposited into Defendant HQC, LLC’s bank account, and it

was spent on groceries, clothing, firearms, vacations, entertainment, video games, gifts, and other

things with no clear business purpose, such as personal credit card and car payments.
Case 2:22-cv-00616-DBB-DBP Document 61 Filed 12/03/24 PageID.581 Page 2 of 4




       2.      Some of Plaintiffs’ money was also transferred from the HQC, LLC bank account

into the accounts of Defendants Douglas Quezada and Lauren Quezada.

       3.      Plaintiffs served their First Set of Discovery Requests on Defendants Lauren

Quezada and HQC, LLC on July 31, 2024. They asked for documents and information pertaining

to the use of Plaintiffs’ funds, such as whether the expenditures were for personal or business

purposes and which transactions were made by or on behalf of Lauren. Plaintiffs also requested

documents and information about Lauren’s bank accounts and why some of Plaintiffs’ money was

transferred into Lauren and Douglas’s personal accounts.

       4.      Defendants failed to respond by the due date, which was August 30, 2024, and they

did not ask for an extension. After multiple reminders by Plaintiffs, Defendants finally served their

discovery responses on September 23, 2024, nearly a month after the due date.

       5.      The responses were deficient. Defendants refused to provide any documents or

information about the foregoing, asserting that the requests were irrelevant and disproportionate.

Defendants also raised the same objection to the requests for documents and information

identifying the credit cards held by HQC and the account holders and users on the HQC bank

account.1

       6.      Defendants’ objections are without merit. Aside from the fact that the objections
were untimely, the requests are clearly relevant and proportional to this lawsuit. The Amended

Complaint alleges that Lauren, Douglas, and HQC misappropriated Plaintiffs’ funds (and

conspired to do the same and defraud the Zamoras) after the money was deposited into the HQC

account. Plaintiffs are entitled to follow the flow of money, and documents and information

pertaining to who spent it, what the purchases and transactions were for, why Plaintiffs’ money


1
        See Exhibit A at Interrog. Response Nos. 2, 5-11; Exhibit B at Interrog. Response Nos. 2,
4, 5, 4 [sic], 5 [sic], 6 [sic]; Exhibit A at Response to RFP Nos. 7-11; Exhibit B at Response to
RFP Nos. 2-9.
Case 2:22-cv-00616-DBB-DBP Document 61 Filed 12/03/24 PageID.582 Page 3 of 4




was flowing between the HQC account and Defendants’ personal accounts, and the like are

discoverable.

       7.        Defendants asserted the spousal communication privilege, attorney-client privilege,

and work product privilege in response to several document requests, but they failed to provide a

privilege log.

       8.        Defendants have also resisted the depositions of HQC and Lauren. Plaintiffs have

been asking for their availability for nearly a year. Many of those requests were ignored, and when

HQC’s deposition was noticed for September 24, 2024, it was cancelled last minute by Defendants

due to purported personal travel, for which no verification was provided.

       9.        The parties met-and-conferred several times, with the last communications

occurring on or around November 15, 2024.

                                          CONCLUSION

       Plaintiffs respectfully request that the Court orders Defendants Lauren Quezada and HQC,

LLC to respond, and provide all documents responsive to, the interrogatories and requests for

production identified in footnote 1, supra, as well as a privilege log. Plaintiffs further request that

the Court orders Lauren Quezada and HQC to appear for depositions within thirty days, that the

fact discovery deadlines be extended for that purpose, and that Lauren Quezada and HQC, LLC
pay the reasonable attorneys' fees incurred by Plaintiffs in making this motion.


       Dated: December 3, 2024

                                                       CHRISTENSEN & JENSEN, P.C.

                                                       /s/ Matthew K. Strout
                                                       Stephen Kelson
                                                       Matthew K. Strout
                                                       Attorneys for Plaintiffs
Case 2:22-cv-00616-DBB-DBP Document 61 Filed 12/03/24 PageID.583 Page 4 of 4




                                 CERTIFICATE OF SERVICE


       I hereby certify that on December 3, 2024, a true and correct copy of the foregoing was

filed using the Court’s electronic filing system, which will serve a notice of filing upon all counsel

of record.



                                                      /s/ Matthew K. Strout
